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                        EXHIBIT A
  Case 6:20-cv-00180-JDK Document 65-2 Filed 01/27/21 Page 2 of 3 PageID #: 2328
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                                                                    Secretaty of Stateof Texas
                    ARTICLES OF INCORPORATION                               AY   2
                                              OF                    con i.             4
                                                                                tions Section


              NOVEDEA SYSTEMS, INC.
                                         ARTICLE ONE


The name of the corporation is   NOVEDEA SYSTEMS, INC.
                                         ARTICLE TWO

The period of duration is   perpetual.
                                     ARTICLE THREE

The purpose for which the corporation is organized is the transaction of any or all lawful
business for which corporations may be incorporated under the Texas Business
Corporation Act.
                                         ARTICLE FOUR

The aggregate number of shares, which the corporation shall have authority to issue, is
Ten Thousand shares (10,000). The shares will consist of one class; the par value of
each share will bc One Dollar ($1.00).

                                         ARTICLE FIVE

The corporation will not commence business until it has received for the issuance of
shares consideration of the value of a stated sum of at least One Thousand Dollars
($1,000) consisting of money, labor done, or property actually received, for the issuance
of the shares.

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                        ARTICLES OF INCORPORATION

                                             OF
                                                                               Progr   7

                   NOVEDEA SYSTEMS,                                INC,”
                                       ARTICLE SIX

The street address of its initial   registered office and the name of its initial registered
agent at such office are:
KAVITHA   RAMANNA, 6060 VILLAGE BEND DRIVE, STE
2007, DALLAS, TEXAS 75206.

                                     ARTICLE SEVEN

The number of directors constituting the initial board of directors are ONE (1) and the
name and address of the persons who will serve as director until successors are elected
and qualified is:
KAVITHA   RAMANNA, 6060 VILLAGE BEND DRIVE, STE
2007, DALLAS, TEXAS 75206.


                                     ARTICLE EIGHT

The name and address of the Incorporator is:
SUNIL MAINI, 6220 CHASE OAKS,STE                            101,PLANO, TX 75023.
The above statements are true and correct.



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May 24, 2005
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